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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP, BI-
 LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS LIABILITY                       Master Docket: Misc. No. 21-01230
 LITIGATION

 This Document Relates To:                           MDL No. 3014

 Personal Injury Claimants and Potential
 Claimants


                                 JOINT NOTICE OF FILING

       Plaintiffs’ leadership and the Philips Defendants are pleased to announce that they have

entered a Personal Injury Master Settlement Agreement (“MSA”) that establishes a $1.075 billion

private settlement program to resolve all personal injury claims of Eligible Claimants with a

Qualifying Injury. A copy of the MSA is attached to this notice and is available on the website of

the Settlement Administrator, MDLCentrality.com/CPAP, and will be publicly available at

RespironicsPISettlement.com.


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